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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                            NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

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                                   7     PHIL MICKELSON, et al.,                         Case No. 22-cv-04486-BLF
                                   8                   Plaintiffs,
                                                                                         ORDER SETTING SCHEDULE FOR
                                   9             v.                                      PLAINTIFFS TALOR GOOCH,
                                                                                         HUDSON SWAFFORD, AND MATT
                                  10     PGA TOUR, INC.,                                 JONES’S MOTION FOR TEMPORARY
                                                                                         RESTRAINING ORDER
                                  11                   Defendant.
                                                                                         [Re: ECF No. 2]
                                  12
Northern District of California
 United States District Court




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                                              On August 3, 2022, Plaintiffs Talor Gooch, Hudson Swafford, and Matt Jones (collectively,
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                                       “TRO Plaintiffs”) filed a motion for temporary restraining order. See ECF No. 2. The Court is
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                                       advised that Defendant PGA Tour, Inc. (“PGA”) has been served with the complaint and the motion
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                                       for temporary restraining order. PGA SHALL file any opposition to TRO Plaintiffs’ motion, which
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                                       SHALL be of no more than 25 pages, by 8 A.M. on Monday, August 8, 2022. No reply brief is
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                                       allowed. The Court hereby SETS an IN-PERSON hearing on TRO Plaintiffs’ motion at 1:00 P.M.
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                                       on Tuesday, August 9, 2022 in San Jose, Courtroom 1, 5th Floor. The parties SHALL file
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                                       courtesy copies of any briefing and exhibits pertaining to TRO Plaintiffs’ motion and any
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                                       opposition. TRO Plaintiffs SHALL provide courtesy copies of all briefing and exhibits pertaining
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                                       to their motion by 2 P.M. on Thursday, August 4, 2022. PGA SHALL provide courtesy copies of
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                                       all briefing and exhibits pertaining to their opposition by noon on Monday, August 8, 2022.
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                                              IT IS SO ORDERED.
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                                       Dated: August 3, 2022
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                                                                                     ______________________________________
                                  27                                                 BETH LABSON FREEMAN
                                                                                     United States District Judge
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